
672 S.E.2d 21 (2008)
BLANKENSHIP
v.
BARTLETT.
No. 455PA06-2.
Supreme Court of North Carolina.
December 19, 2008.
Donald G. Hunt, Jr., Jamie L. Vavonese, Fuquay-Varina, Amie C. Sivon, for Blankenship, et al.
*22 Susan K. Nichols, Karen E. Long, Special Deputy Attorney Generals, for State.
The following order has been entered on the motion filed on the 17th day of December 2008 by Defendants
"Motion Allowed. Defendants shall have up to and including the 23rd day of January 2009 to file and serve his/her brief with this Court. By order of the Court in conference this the 19th day of December 2008."
